          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                        CRIMINAL NO. 1:04CR74


UNITED STATES OF AMERICA                 )
                                         )
                                         )
           VS.                           )            ORDER
                                         )
                                         )
STEPHEN DALE McCLELLAN                   )
                                         )


     THIS MATTER is before the Court on remand from the Fourth Circuit

Court of Appeals for resentencing. United States v. McClellan, 2007 WL

4302455 (4th Cir. Dec. 10, 2007).

     At the resentencing hearing held August 30, 2006, held pursuant to

the Fourth Circuit’s first remand of this case, the Court entered an

Amended Judgment imposing a 36-month term of imprisonment and an

Alternative Amended Judgment imposing 121 months imprisonment. See

Amended Judgment in a Criminal Case, filed October 2, 2006;

Alternative Amended Judgment in a Criminal Case, filed October 2,

2006. In the present remand, the Fourth Circuit vacated the Amended

Judgment providing for the 36-month term of imprisonment and remanded



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the case for resentencing in accordance with the Alternative Amended

Judgment providing for the 121 months imprisonment. McClellan, supra.

Because the Court previously pronounced both judgments on the record in

open court, a new resentencing hearing will be unnecessary. See

Transcript of Sentencing Proceedings, filed November 21, 2006.

     IT IS, THEREFORE, ORDERED that the Clerk prepare an Amended

Judgment providing for a sentence of 121 months imprisonment with all

other terms and conditions set forth in the previous Alternative Amended

Judgment remaining in full force and effect.

     The Clerk of Court is directed to transmit this Order electronically to

defense counsel, the United States Attorney, the United States Marshal,

the United States Probation Office, the Warden at the correctional facility

where Defendant is imprisoned, and via regular mail to the Defendant.


                                      Signed: January 7, 2008




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